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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MIN MYOSHA,                       )
on behalf of plaintiff and a class,
                                  )
                                  )
            Plaintiff,            )
                                  )
      vs.                         )                    Case No. 18-cv-08059
                                  )
FIRST NATIONAL COLLECTION         )                    Honorable Robert W. Gettleman
BUREAU, INC., LVNV FUNDING LLC, )
RESURGENT CAPITAL SERVICES, L.P., )
and ALEGIS GROUP, LLC,            )
                                  )
            Defendants.           )

                                  NOTICE OF SETTLEMENT

       Plaintiff hereby informs the Court that the parties have reached an individual settlement

of this case and that they require time to memorialize and effectuate the terms of the settlement.

Plaintiff will file a stipulation of dismissal once the settlement is completed. Plaintiff

respectfully requests that this Court strike all pending deadlines.

                                                               Respectfully submitted,

                                                               /s/ Tara L. Goodwin
                                                               Tara L. Goodwin
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Cathleen M. Combs
Tara L. Goodwin
Bryan G. Lesser
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                              CERTIFICATE OF SERVICE

       I, Tara L. Goodwin, hereby certify that on September 27, 2019 I caused a true and
accurate copy of the foregoing document to be filed via the Court’s CM/ECF system, which
caused to be sent notification of such filing to all counsel of record.


                                                                s/ Tara L. Goodwin
                                                                Tara L. Goodwin

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